Case 2:98-Cr-20283-BBD Document 106 Filed 05/25/05 Page 1 of 2 Page|D 91

 

 

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IN THE UNITED STATES DISTRICT COURT ` ` '“'
FOR THE WESTERN DISTRICT OF TENNESSEE 95 f»q?§\{ 915 P¢.__,_. q 2

WESTERN olvrsroN 1 ‘“‘ '
UNITED STATES ()F AMERICA, )
)
Plaintii`f, )
)

vs. ) No. 98-20283 D/An
)
WILLIAM PHILLIPS, )
)
Defendant. )
ORDER SETTING HEARING

 

Before the Court is the United States’ Motion for Magistrate Court to Re-Consider and/or
in the alternative Obj eetions to the Magistrate Judge’S Report and Reoomrnendation filed on
April 3, 2005. United States District Judge Berniee B. Donald referred the initial Motion to
Compel to the Magistrate Judge for a report and recommendation

IT IS THEREFORE ORDERED that a hearing be held before United States Magistrate
Judge S. Thomas Anderson on WEDNESDAY, JUNE l, 2005 at 1:45 P.M. in Courtroorn M-3,

91h Floor, Federal Bui]ding, Memphis, Tennessee.

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/__,..

S. THOMAS ANDERSON
UNITED STATES MAGISTRATE JUDGE

Date: WH~? <;;U:, ZDO_F

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Notice of Distribution

This notice confirms a copy of the document docketed as number 106 in
case 2:98-CR-20283 Was distributed by faX, mail, or direct printing on

May 26, 2005 to the parties listed.

 

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Honorable Bernice Donald
US DISTRICT COURT

